Case 3:16-cV-00025-D.]H Document 1-1 Filed 01/12/16 Page 1 of 38 Page|D #: 7

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HZC l ALL
. . Transmitta| Number: 14619758
Notice of Servlce of Process mate Pmcessed= 12128:2015
Primary Contact: Davena D. l\/lorgan
Goiden Living
1000 Fianna Way
Fort Smith. AR 72919
Copy of transmittal only provided to: iVls. Amy Nguyen
Brenda Boster
iVls. Lisa Lowther
Entity: GGNSC Louisvil|e |-Ei|icreek LLC
Entity ED Number 2498221
Entity Served: GGNSC Louisviiie Hi|icreek, LLC dib/a Goiden LivingCenter-Hil|creek
Tit|e of Action: i\/larva Dockery, as Attorney-ln-Fact of Niildred Marshaii vs. GGNSC Louisvii|e
Hi|icreei<, LLC dib/a Goldon LivingCenter-Hi|[creek
Document(s) Type: SummOnSlCOmpiaint
Nature ofAction: Personai injury
Court!Agency: Jetferson County Circuit Court, Kentucky
CaselReference No: 150|006437
Jurisdiction Served: Kentucky
Date Served on CSC: 12/28)'2015
Answer or Appearance Due: 20 DayS
Originai|y Served On: CSC
How Served: Cet'tified |`v'iai|
Sender information: Robert W Frar\cis

501 -907-7790

 

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

TO avoid potential delay, please do not send your response to CSC
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Case 3:16-cV-00025-D.]H Document 1-1 Filed 01/12/16 Page 2 of 38 Page|D #: 8

 

 

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Rev. 1-07
Page‘l cit Court - Circuit - District

Commonwealth of Kentucky
Court of Justice www.courts.i<y.gov " "
CR 4.02; CR Ochia| Form 1 Clvit. SuMMoNs

 

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PLA|NT|FF
` § ai\i C".FQCU!T COURT
Merva Doci<ery. as Attorney-in-Fact of J EFF&DE:V;;`GN TEN m B)
Mildred Marsha|l
VS.
DEFENDANT

GGNSC Louisvi||e Hiilcreek, LLC dib/a Goiden LivingCenter~Hilicreek

Service of Process Agent for Defendant:
Corporation Service Company

421 West Niain Street

 

 

 

Frankfort, KY 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

 

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Un|ess a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Comp|aint.

The name(s) and address(es) of the party or parties demanding relief gainst y u are shown on the document
delivered to you with this Summons.

 

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n , ,» Clerk

Date: q n . lz__ By: K 467ng D.C.

 

 

 

 

Proof of Service
This Summons Was served by delivering a true copy and the Comp|aint (or other initiating document) to:

 

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Served by:

 

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Case 3:16-cV-00025-D.]H Document 1-1 Filed 01/12/16

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Notice of Service of Process

Page 3 of 38 Page|D #: 9

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Transmittal Number: 14616887
Date Processed: 12/2812015

 

Primary Contact: Davena D. Nlorgan
Golden Living
1000 Fianna Way
Fort Smith, AR 72919

Copy of transmittal only provided to: Nis, Amy Nguyen
Brenda Boster
Nis. i_isa Lowther

 

Entity: GGNSC Administrative Services LLC
Entity |D Number 2486985

Entity Served: GGNSC Administrative Services, LLC

Tit|e of Action: l\iiarva Dockery, as Attorney-ln-Fact of l\/liidred l\ilarshali vs. GGNSC Louisvil|e
Hillcreek, LLC dib/a Go|den LivingCenter - i-ii|lcreek

Document(s) Type: Summons/Complairit

Nature of Action: PerSOna| ll‘ljui'y

CourtiAgency: Jefferson County Circuit Court, Kentucky

CaseiReference No: 15Ci006437

Jurisdiction Served: Kentucky

Date Served on CSC: 12/28/2015

Answer or Appearance Due: 20 Days

Originally Served On: CSC

How Served: Certified l\iiail

Sencler information: Robelt W. Francis

501 -907-7790

 

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2711 Centeniil|e Road Wi|mington, DE 19808 (888) 690-2882 f sop@cscinfo.com

 

Case 3:16-cV-00025-D.]H Documen‘t 1-1 Filed 01/12/16 Page 4 of 38 Page|D #: 10

 

 

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Page 1 0f1 Court - Circuit - District

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Court of Justice www.courts.ky.gov

 

County Jeiferson ‘

 

 

 

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Marva Docl<ery, as Al'tomey-in-Fact of q FWCWT GOU RT
Nliidred Marshal| JEFF\l;E-)r_':‘_\{§§:c;é\_;¥§§.i rt O)
VS.
DEFENDANT

GGNSC Administrative Services. LLC

Service of Process Agent for Defendant:
Corporation Service Company

421 West Main Street

 

Frankfort, KY 40601

THE COMN|ONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Sumrnons. Un|ess a written defense is made by you or by an attorney on

your behalf within 20 days following the day this paper is delivered to you, judgment by defauit may be taken against you
for the relief demanded in the attached Complaint.

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document

delivered to you with this Summons. v
DAVlD L. l\il OLSO ,Cl/}ERK
n

Date: [EC 22 23152

C|erk
By: l M D.C.

 

 

 

 

Proof of Service
This Summons was served by delivering a true copy and the Comp|aint (or other initiating document) to;

 

this day of , 2
Served by:

 

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Case 3:16-cV-00025-D.]H Document 1-1 Filed 01/12/16

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Notice of Service of Processl

Page 5 of 38 Page|D #: 11

RCS i ALi_
`i'ransmitta| Number: 14616624
Date Processed: 12i28i2015

 

Primary Contact: Davena D. l\ilorgan
Goiden Living
1000 Fianna Way
Fort Smith, AR 72919

Copy of transmittal only provided to: |V|s. Amy Nguyel"l
Brenda Boster
N|s, Lisa i_owther

 

Entity: GGNSC Clinical Services LLC
Entity lD Nurnber 2507228

Entity Served: GGNSC Clinical Services, LLC

Title of Action: l\i|arva Docl<ery, as Attorney-in-Fact of i\/li[dred Nlarsha|| vs. GGNSC Louisvi|le
Hi||creek, LLC dib/a Golden LivingCenter - l-iillcreek

Document{s) Type: SummonS/Complalrit

Nature of Action: Personal |njury

court/Agency: Jefferson County Circuit Courtl Kentucl<y

CaseiReference No: 15C|006437

Jurisdiction Served: Kentucky

Date Served on CSC: 12/28/2015

Answer or Appearance Due: 20 DayS

Originally Served On: CSC

How Served: Certified Nlail

Sender lnformation: Robert W. Francis

501-907-7790

 

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constitute a legal opinion. The recipient is responsibie for interpreting the documents and taking appropriate action.

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Case 3:16-cV-00025-D.]H Document 1-1 Filed 01/12/16 Page 6 of 38 Page|D #: 12

 

 

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Page 1 of1 Court l Circuit - District

 

Commonwea|th of Kentucky
Court of Justice Www.courts.i<y.gov

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PLA:NT|FF
niroCU"tT GOUR
l\/larva Doci<ery, as Attorney~in-Fact of FQ‘€ZON,‘T"` ~1 ' t'l 01
' ‘ ‘ ‘ JEFF "‘ \!tc~_i;_ii\'i ii'»“-“
Mi|dred Marshali _ ‘ t Dl ~
VS.
DEFENDANT

_GGNSC_Ciinicai Services, LLC ‘

Service of Process Agent for Defendant‘.
..CPIRAF?*FQD_,§§Wl?€.p?mptin.y. _.
._<i?.i..Wssi_lti_ein§trs¢t_.. .

 

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THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

 

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Untess a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Compiaint.

The name(s) and address(es) of the party or parties demanding relief against ou are shown on the document
delivered to you with this Summons.

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By: D.C.
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it This Summons was served by delivering a true copy and the Compiaint (or other initiating document) to: if

 

this day of , 2
Served by:

 

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Case 3:16-cV-00025-D.]H Document1-1 Filed 01/12/16

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Notice of Service of Process

Page 7 of 38 Page|D #: 13

RCS l ALL
Transmitta| Number: 14630318
Date Processed: 121311'2015

 

Primary Contact: Davena D. Nlorgan
Goiden Living
1000 Fianna Way
Foit Smith, AR 72919

Copy of transmittal only provided to: Brenda Boster
- lvis. Lisa Lowther
iV|s. Amy Nguyen

 

Entity: GGNSC Equity Ho|dings LLC
Entity iD Number 2497965

Entity Served: GGNSC Equlty Ho|dings, LLC

Title of Action: lvlarva Dcci<ery, as Attorney-in-Fact of Miidred Marshai| vs. GGNSC Louisvi|le
Hi|icreek, LLC dib/a Goiden LivingCenter - Hiiicreek

Document(s) Type: SummonsiComplaint

Nature of Action: Personai lnjury

CourtiAgency: Jefferson County Circuit Court, Kerltucky

CaseiReference No: 15-C|-006437

Jurisciiction Served: Deiaware

Date Served on CSC: 12/31/2015

Answer or Appearance Due: 20 DayS

Origina|iy Served Onf KY Secretary of Siate on 12123/2015

How Served: Certified lillaii

Sender information: Rot)ert W. Francis

501-907-7790

 

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Case 3:16-cV-00025-D.]H Document 1-1 Filed 01/12/16 Page 8 of 38 Page|D #: 14

    

 

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' ' DEFENDANT

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_V\lilm_in_st@e_____ __ _ __ _ __._.__E_>sla\tar_e__ _________ 1989.8__. ______
Service of Process Agent for Defendant:
Kentucl<y Secretary of State g _ _ _ w _ _
_7_9__0_.§§_91§§_'._§¥§£¥§__ _________ ______ __ _______ _____ _____ __ _ ___ _ _
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THE COMMONWEALTH OF KENTUCK¥
TO THE ABOVE-NAMED DEFENDANT(S).

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document deiivered to you with this Sumrnons. Unless a written defense' is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Complaint.

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
delivered to you with this Summons.

 

 

 

 

 

 

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Proof of Service `-

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This Summons was served by delivering a true copy and the Compiaint (or other initiating document) to:

 

t this day of ` ,2
` Served by:

 

Title

 

 

 

 

 

 

 

 

Case 3:16-cv-00025-D.]H Document 1-1 Filed 01/12/16

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Notice of Service of Process

Page 9 0138 Page|D #: 15

SOIVE l ALL
Transmittai Number; 14617299
Date Processed: 12128!20’£5

 

Primary Contact: Davena D. Ntorgan
Gotden Living
1000 Fianna Way
Fort Smith. AR 72919

Copy of transmittal only provided to: Brenda Boster
Nis. Amy Nguyen
Nis. Lisa Lowther

 

Entity: Gotden Gate Nationai Senior Care LLC
Entity lD Number 2495562

Entity Served: Gofden Gate Nationai Senior Care, LLC

Title of Action: lvlarva Dockery, as Attorney -in-Fact of Mildred Nlarsha|l vs. GGNSC Louisvi![e
Hi|[creek, LLC dib/a Goiden LivingCenter-Hi|!creek

Document(s) Type: SummOnSlCOmp|ain’t

Nature of Action: Personai injury

Court/Agency: Jefferson County Circuit Court, Kentucky

CaseIReference No: 1501006437

Jurtsdiction Served: Kentucky

Date Served on CSC: 12/281‘201 5

Answer or Appearance Due: 20 DayS

Origina||y Served On: CSC

How Served: Cel‘lified Maii

Sender lnformation: Robert W. Francis

501-907-7790

 

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Case 3:16-cv-00025-D.]H Do,cument1-1 Filed 01/12/16 Page 10 of 38 Page|D #: 16

 

 

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Commonwealth of l<entucky
Court of Justice www.courts.ky.gov

 

County Jefferson

 

 

 

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Nierva Docl<ery, as Attorney-in-Fact of JEFFEF"*" ' ii tim

otvisicn `ti'i
Miidred fvlarshatl

VS.

DEFENDANT
Go|den Gate National Senior Care, LLC

Service of Process Agent for Defendant:
Corporation Service Company

421 West lViain Street

 

 

 

Frankfort. KY 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAN'|ED DEFENDANT(S):

 

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
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for the relief demanded in the attached Complaint_

The name(s) and address(es) of the party or parties demanding reiief against you are shown on the document

delivered to you with this Summons.
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Date: 9 ge 2 2 20 15,2 ' /‘\ / tr Cierk
By: \ I/\{/M\ D.C_

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Proof of Service .\
This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:

 

this day of . 2 .
Served by: ll

 

Title

 

 

 

 

 

 

Case 3:16-cv-00025-D.]H Document 1-1 Fiied 01/12/16

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Notice of Service of Process

Primary Contacl:: Davena D. Morgan
Golden Living
1000 Fianna Way
Fort Smith, AR 72919

Copy of transmittal only provided to: Brenda Boster
lV|s. Lisa i_ovvther
lvis. Amy Nguyen

Page 11 of 38 PagelD #: 17

RCS l ALL
Transmittai Number: 14630490
Date Processed: 12131!20'15

 

Entity: GGNSC Hoidings LLC
Entity ED Number 2497240

Entity Served: GGNSC HOldit‘igS, LLC

Title of Action: lvlarva Dockery, as Attorney~in-Fact of lvii|dred liflarshaii vs. GGNSC Louisvi|le
Hiilcreek, LLC d/bi'a Golden LivingCenter - 'i-liiic`reek

Document(s) Type: Summons/Cornplaint

Nature of Action: Personal injury

CourtlAgency: Jefferson County Circuit Court, Kentucky

CaselReference No: 15-C|-006437

Jurisdiccion served: ` Deiaware

Date Served on CSC: 12)'31."2015

Answer or Appearance Due: 20 Days

Originally Served On: KY Secretary Of State On 12/23/2015

How Served: Certified Nlail

Sender information: Robe:t W. Francis

501-907-7790

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To avoid potential delay, please do not send your response to CSC
CSC is SAS?O Type ll certified for its Litigation Management Systern.
2711 Centervi|le Road Vihimington, DE 19808 {888) 690-2882 l sop@cscinfo.com

 

Case 3:16-cv-00025-D.]H Document1-1 Fiied 01/12/16 Page 12 of 38 PagelD #: 18

 

   

 

 

 

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Page 1 of1 Court Circ `t - District
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Marva Dockery, as Attorney-in-Faot of
Mi|dred i`vlarshaii
'. ‘3"
J.ei=r-'ensc“i Ciii_@‘~i'T-QG`M
vs. nivisi€)i\i `\ ‘~'~“ (“‘) `
DEFENDANT
GGNSC Holc|ings, LLC
c/o Corporation Service Company
` 2711 centerville Road, suits 400 REC€?*\’i'-D
Wilmin ton Deiaware 19808 '
9 nat z 3 2015

. bl'.‘.i.‘..-l‘§l,;|r\r\[ UI'\)|MIR
Service of Process Agent for Defendant:
Kentuci<y Secretary of State

700 Capitai Avenue
Suite 86
Franl<fort Kentucky 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

 

 

 

 

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document detivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Complaint.

The name{s) and address(es) of the party or parties demanding relief agai
delivered to you with this Summons.

Date: DEC 22 2015 2__ DAVlD L' Nt h 1 clerk
By: t / .//{ D.C.

ou are shown on the document

   

 

 

 

Proof of Service
This Summons vvas served by delivering a true copy and the Complaint (or other initiating document) to:

 

this day of , 2

 

Served by:
Title

 

 

 

 

 

Case 3:16-cv-00025-D.]H Document 1-1 Fiied 01/12/16 Page 13 of 38 PagelD #: 19

COMMONWEALTH ()F KENTUCKY

IN THE cchUlT COURT oF JEFFERSON COIM';!-’neaso*\i c_inci.in cedar
DIVISION orvisien ran 001

 

!' 5 m civil Aaion File No. 15-c1-
Marva Dockery, as Attorncy-in-Fact PLAH\ITIFF
of Mildred Marshall
v. COMPLAINT'

‘ GGNSC louisville Hilloreek, LLC DEFENDANTS

d/b/a Golden LivingCenteI »~ Hiilcreek
c/o Corporation Service Company

421 West Main Strect

Frankfort, KY 40601

GGNSC Administrativs Services, LLC
c/o Corporation Service Compa.ny

421 West Main Street

Frankfort, Kentucky 40601

 

G~GNSC Clinical Services, LLC
cfc Corporation Service Company
421 West Main Strcet

Frankfort, Kentucky 40601

 

GGNSC Equity I-Ioldings, LLC

c/o Corporation Service Company

2711 Centerville Road, Ste. 400

Wilmington, Delawa;re 19808

VIA KENTUCKY SECRETARY OF STATE

Golden Gate National Senior Care, LLC
c/o Corporation Service Company

421 West Main Street

Frankfort, Kentucky 406 01

GGNSC Holdings, LLC
c/o Corporation Service Company
2711 Centerville Road, Ste. 400
Wilmington, Delaware 19803
_ VIA KENTUCKY SECRETARY OF STATE

 

Case 3:16-cv-00025-D.]H Document 1-1 Fiied 01/12/16 Page 14 of 38 PagelD #: 20

.l ames Rife, in his capacity as Adiniiiisl:rator of
Golden LivingCenter - I-lillcreek

3116 Breckinridge Lane

Louisville, Kentucky 40220

1. Marva Dockery is the daughter of Mildred Marshall and her Attorney-in-Fact,
pursuant to the September 18, 2015 General Power of Attorney, attached hereto as Exhibit A.
Ms. Dockery brings this action on behalf of Ms. Marshall. Marva Dockery is a resident of
Louisville, Jefferson County, Kentucky. n

2. Upon information and belief, Mildred Marshall Was most recently admitted as a
resident of Golden LivingCenter m Hillcreek (sometimes referred to _as ‘ffacility”),. located at
3116 Brecldnridge Lane, Louisville, chfcrson County, Kentucky approximately July 09, 2015,
and remained a resident there until approximately September 05, 2015.

3. Defendant GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter -
Hillcreek is a foreign limited liability company authorized to do business in the Commonweaith
of Kentucky, With its principal office located at 3116 Breckenridge Lane, Louisville, Kentucky.
Upon information and belief, at times material to this action, Defendant GGNSC Louisville
I-Iillcreek, LLC owned, operated, managed, controlied, and/or provided services for Golden
LivingCenter - Hillcreek in Louisville, Jefferson County, Kentucky. Upon information and
belief, Defendant GGNSC louisville Hillcreek, LLC Was, at times material to this action, the
“licensee” of the facility. Under the laws and regulations promulgated and enforced by the
Cabinet for Health and Farnily Services, as licensee of the facility, GGNSC louisville Hillcreek,
LLC was legally responsible for that facility and for ensuring compliance With all laws and
regulations related to the operation of the facility 'I`he causes of action made-the basis of this suit

arise out of such business conducted by said GGNSC Louisville Hillcreek, LLC in the

ownership, operation, management, control, licensing and!or services provided for the facility

 

Case 3:16-cv-00025-D.]H Document1-1 Fiied 01/12/16 Page 15 of 38 PagelD #: 21

during the residency of Mildred Marshall. The registered agent for service of process of GGNSC
louisville Hillcreek, LLC is Corporation Service Company, 421 West Main Street, Frankfort,
Kentucky 40601.

4. Defendant GGNSC Administrative Services, LLC is a foreign limited liability
company and, upon information and belief, is engaged in the business of for~profit custodial care
of elderly and infirm nursing horne residents in nursing facilities Upon information and belief, at
times material to this action, Defendant GGNSC Administrative Services, LLC owned, operated,
managed, controlled and/or provided services for nursing facilities, including Golden
LivingCenter _ Hillcreek in Louisville, lefferson County, Kentucky. The causes of action made
the basis of this suit arise out of such business conducted by said Defendant GGNSC
Adrninistrative Services, LLC in the ownership, operation, management, control and)'or services
provided for the facility during the residency of Mildred Marshall. The registered agent for
service of process of GGNSC Ad_rninistrative Services, LLC is Corporation Service Company,
421 West Main Street, Frankfort, Kentucky 40601.

5. Defendant GGNSC Clinical Services, LLC is a foreign limited liability company
and, upon information and belief, is engaged in the business of for-profit custodial care of elderly
and infirm nursing home residents in nursing facilities Upon information and belief, at times
material to this action, Defendant GGNSC Clinical Services, LLC owned, operated, managed,
controlled and/or provided services for nursing facilities, including Golden LivingCenter -
Hillcreek in Louisville, lefferson County, Kentucky. The causes of action made the basis of this
suit arise out of such business conducted by said Defendant GGNSC Clinical Services, LLC in
the ownership, operation, management, control and!or services provided for the facility during

the residency of Mildred Marshall. The registered agent for service of process of GGNSC

 

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Clinical Services, LLC is Corporation Service Company, 421 West Main Street, Franl<fort,
Kentucky 40601.

6. ADefendant GGNSC Equity Holdings, LLC is a foreign limited liability company
and, upon information and belief, is engaged in the business of for-profit custodial care of elderly
and infirm nursing home residents in nursing facilities Upon information and belief, at ali times
material to this action, Defendant GGNSC Equity Holdings, LLC owned, operated, managed,
controlled and/or provided services for nursing facilities, including Golden Livingcenter -
Hillcreek in Louisville, lefferson County, Kentucky. The causes of action made the basis of this
suit arise out of such business conducted by said Defendant GGNSC Equity Holdings, LLC in
the ownership, operation, management, control and/or services provided for the facility during
the residency of Mildred Marshall. The registered agent for service of process of GGNSC Equity
Holdings, LLC is Corporation Service Company, 2711 Centerville Rd;, Suite 400, Wiirnington,
Delaware 19808.

7. Defendant Golden Gate National Senior Care, LLC is a foreign limited liability
company and, upon information and belief, is engaged in the business of for-profit custodial care
of elderly and infirm nursing home residents in nursing facilities Upon information and belief, at
all times material to this action, Defendant Golden Gate National Senior Care, LLC owned,
operated, managed, controlled and/or provided services for nursing facilities, including Golden
Livingcenter - Hillcreek in Louisville, Iefferson County, Kentucl<y. The causes of action made
the basis of this suit arise out of such business conducted by said Defendant Golden Gate
National Senior Care, LLC in the ownership, operation, management, control and/or services
provided for the facility during the residency of Mildred Marshall. The registered agent for
service of process of Golden Gate National Senior Care, LLC is Corporation Service Company,

421 West Main Street, Frankfort, Kentucky 40601.
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8. Defendant GGNSC Holdings, LLC is a foreign limited liability company and,
upon information and belief, is engaged in the business of for-profit custodial care of elderly and
infirm nursing home residents in nursing facilities Upon information and beliet`, at times
material to this action, Defendant GGNSC Holdings, LLC owned,operated, managed, controiled
and/or provided services for nursing facilities, including Golden Livingcenter - Hillcreek in
Louisville, Jefferson County, Kentucky. The causes of action made the basis of this suit arise out
of such business conducted by said Defendant GGNSC Holdings, LLC in the ownership,
operation, management, control and/or services provided for the facility during the residency of
Mildred Marshall. The registered agent for service of process of GGNSC I-loldings, LLC is
Corporation Service Company, 2711 Centerville Rd., `Suite 400, Wilmington, Delaware 19808.

9. Upon information and belief, Defendant J ames Rife is a citizen and resident of the
Corrunonwealth of Kentucky and was an Adniinistrator of Golden LivingCenter - Hillcreek
during the residency of Mildred Marshall. The causes of action made the basis of this suit arise
out of Defendant James Rife°s administration of Golden LivingCenter - Hillcreel<' during the
residency of Ms. Marshall. Defendant Jarnes R-ife may be served with process at his last known
business address, 3116 Breclcinridge Lane, Louisville, Kentucky 40220.

10. Defendants~ controlled the operation, planning, management, budget, and quality
control of Golden LivingCenter - Hillcreek. The authority exercised by the Defendants over the
nursing facility included, but Was not limited to, control of marketing, human resources
management training, staffing, creation, and implementation of all policies and procedures used
by the nursing facility, federal and state reimbursement through Medicare and Medicaid, quality
care assessment and compliance, federal and state licensure and certification, legal services, and

financial, tax, and accounting control through fiscal policies established by the Def`endants.

 

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11. Whenever the term “Nursing Home Defendants” is utilized herein, such tenn
collectively refers to GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter - Hillcreek;
GGNSC Adrninistrative Services, LLC; GGNSC Clinical Services, LLC; GGNSC Equity
I-loldings, LLC; Golden Gate National Senior Care, LLC; and GGNSC Holdings, LLC.

12. Whenever the term “Administrator Defendant” is utilized within this suit, such
term refers to J ames Rife.

13. Whenever the term “Defendants” is utilized within this suit, such tcm
collectively refers to and includes all named Defendants in this lawsuit

14. lurisdiction and venue are proper in this Court.

FACTUAL ALLEGATIONS

v15. Other than hospitalizations7 Mildred Marshall was most recently a resident of
Golden LivingCenter - Hillcreek from approximately July 09, 2{}15 until approximately
September 05, 2015.

l6. Mildred Marshall was looking to Defendants for treatment of her total needs for
custodial, nursing, and medical care and not merely as the situs where others not associated with
the facility would treat her.

17. At all relevant times mentioned herein, Defendants owned, operated, managed
and/or controlled Golden LivingCenter - Hillcreek, either directly, through a joint enterprise,
partnership and/or through the agency of each other and/or other diverse subalterns, subsidiaries
governing bodies, agents, servants, or employees

18. Defendants are directly or vicariously liable for any acts and omissions by any
person or entity, controlled directly or indirectly, including any governing body, officer,
employee, ostensible or apparent agent, partner, consultant or independent contractor, whether

- in-house or outside individuals, entities or agencies

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19. Defendants failed to discharge their obligations of care to Mildred Marshall with a
conscious disregard for her rights and safety. At all times mentioned herein, Defendants, through
their corporate officers and administrators had knowledge of, ratified and/or otherwise
authorized all of the acts and omissions that caused the injuries suffered by Mildred Marshall, as
more fully set forth below. Defendants knew that this facility could not provide the minimum
standard of care to the weak and vulnerable residents of Golden LivingCenter - l-lillcreek.

20. Defendants were on notice and aware of problems with resident care at Golden
LivingCenter ~ Hillcreek based upon surveys conducted at the facility by the Cabinet for Health
& Farnily Services both prior to and during the residency of Mildred Marshall. For example, in
multiple surveys prior to, during, and immediately following Ms. Marshall’s residency, the

facility was cited for numerous deficiencies relevant to the injuries of Mildred Marshall,

including:
a) Failure to make sure the nursing home area is free from accident hazards
and risks and provides supervision to prevent avoidable accidents (August
29, 2015);
b) Failure to have a program that investigates controls and keeps infection

from spreading (August 29, 2015);

c) Failure to make sure that a working call system is available in each
residents room or bathroom and bathing area. (June 05, 2014 and again on
November 10, 2014);

d) Failure to develop policies that prevent mistreatment, neglect, or abuse of
residents or theft of resident property (April 01, 2014 and again on June
05, 2014);

e) Failure to make sure services provided by the nursing facility meet _
professional standards of quality. (March 08, 2014 and again on August
29, 2015); and

i) Failure to provide care by qualified persons according to each resident’s
written plan of care. (March 08, 2014, lune 05, 2014, November 10, 2014,
and again on August 29, 2015)

 

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21. Due to the wrongful conduct of Defendants, Mildred Marshall suffered
accelerated deterioration of her health and physical condition beyond that caused by the normal
aging process and the deterioration of her functional ability, as well as the following injuries:

a) Numerous falls with injuries;
b) Left hip fracture from fall;
c) Laceration to head from fall;
d) UTls;

e) E-Coli;

f) li`ecal Impaction; and

g) Signiiicant weight loss.

22. Mildred Marshall in addition suffered unnecessary loss of personal dignity,
extreme pain and suffering, hospitalizations, degradation, mental anguish, disability, and
distigurement, all of which were caused by the wrongful conduct of Defendants as alleged
.beiow.

CAUSES OF ACTION AGAINST THE NURSING HOME DEFENDANTS
NEGLIGENCE

23. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs l - 22
as if fully set forth herein.

24. Nursing Home Defendants owed a non-delegable duty to Mildred Marshall to
provide the custodial care, services and supervision that a reasonably careful nursing home
would provide under similar circumstances

25. Upon information and belief, Nursing Home Defendants knowingly developed
and maintained staHing levels at the facility in disregard of patient acuity levels as well as the

minimal time to perform the essential functions of providing care to Mildred Marshall.
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26. Nursing Home Defendants negligently failed to deliver care, services, and
supervision, including, but not limited to, the following acts and omissions:

a. Pailure by the members of the governing body of the facility to discharge their
legal and lawful obligation by: `

1) ensuring compliance with rules and regulations designed to protect the
health and safety of the residents, such as Mildred Marshall, as
promulgated by the Cabinet for Health and Fa_mily Services, Division
of Long Term Care;

2) ensuring compliance with the resident care policies for the facility; and

3) ensuring that appropriate corrective measures were implemented to
correct problems concerning inadequate resident care.

b. Failure to provide a facility that was sufficiently staffed with personnel that
was properly qualified and trained;

c. Fa.ilure to provide the minimum number of qualified personnel to meet the
total needs of Mildred Marshall;

d. Failure to maintain all records on Mildred Marshall in accordance with
accepted professional standards and practices:

e. Failure to ensure that Mildred Marshall received adequate and proper
nutrition, fluids, supervision, therapeutic, and skin care;

f. Failure to increase the number of personnel at the facility to ensure that
Mildred Marshall received timely and appropriate custodial care, including,
but not limited to, bathing, grooming, incontinent care, personal attention and
care to her skin, feet, nails, and oral hygiene;

g. Failure to have in place adequate guidelines, policies and procedures of the
facility and to administer those policies through enforcement of any rules,
. regulations, by~laws or guidelines;

h. Faiiure to monitor or increase the number of nursing personnel at the facility
to ensure that Mildred Marshall:

1) received timely and accurate care assessments;
2) received prescribed treatment, medication and diet; and

3) received timely custodiai, nursing and medical intervention due to a
significant change in condition

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i. Failure to take reasonable steps to prevent, eliminate and correct deficiencies
and problems in resident care at the facility;

j. F ailure to take all necessary and reasonable custodial and nursing measures to
prevent avoidable falls and infections during Mildred Marshall’s residency;

k. Failure to provide a safe environment for care, treatment, and recovery, and to
exercise ordinary care and attention for the safety of l\/lildred Marshall in
proportion to her particular physical and mental ailments, known or
discoverable by the exercise of reasonable skill and diligence;

l. Fajlure to provide adequate hygiene and sanitary care to prevent infection;

m. Failure to provide proper custodial care; and

n. Pailure to abide by applicable federal laws and regulations governing the
certification of long-term care facilities under Titles XVIII or XIX of` the
Social Security Act.

27. A reasonably careful nursing facility Would not have failed to provide the care
listed above.\ lt was foreseeable that these breaches of ordinary care would result in serious
injuries to Mildred Marshall. With regard to each of the foregoing acts of negligence, the
Nursing Home Defendants acted with oppression, fraud, malice or were grossly negligent by
acting with wanton or reckless disregard for the health and safety of Mildred Marshall.

28. In addition, Pla.intiff` also alleges Nursing Home Defendants violated statutory and
regulatory duties of care, the violations of which are further evidence of their negligence and
which caused the injuries suffered by Mildred Marshall. The statutory and regulatory violations

of the Nursing Horne Defendants inoluded, but are not limited to, violation(s) of the following:

a. Violation(s) of KRS 209.005 et seq. and the regulations promulgated
thereunder, by abuse, neglect and/or exploitation of Mildred Marshall;

b. Violation(s) of KRS 508.090 et seq., criminal abuse, by committing
intentional, wanton, or reckless abuse of Mildred Marshall, who was
physically helpless or mentally helpless or permitting Ms. Marshall, a
person of whom Nursing Home Defendants had actual custody, to be
abused. Such abuse caused serious physical injury, placed Ms. Marshall in

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a situation that might cause her serious physical injury, and,/or caused
torture, cruel confinement or cruel punishment of Mildred Marshall;

'c. Violation(s) of KRS 1530.080 et seq., endangering the welfare of an
incompetent person, by knowingly acting in a manner which resulted in an
injury to the physical and/or mental welfare of Mildred Marshall, who
was unable to care for herself because of her illness;

d. Violation(s) of KRS 216.520, requiring long term care facilities to provide
appropriate staff training to implement each of the residents’ rights as
defined in KRS 216.515 to 216.525;

e. Violation(s) of KRS 506.080, criminal facilitation of criminal act(s), by
acting with knowledge that another person or entity was committing one
or more of the foregoing criminal acts or intending to commit one or more
of the foregoing criminal acts, and engaged in conduct which knowingly _
provided another person or entity the means or opportunity for the
commission of such criminal act(s) and which in fact aided another person
or entity to commit the criminal act(s); and/or

f. Violation(s) of the statutory standards and requirements governing
licensing and operation of long-term care facilities as set forth by the
Cabinet for Heal.th and Farnily Services, pursuant to provisions of KRS
Chapter 216 and the regulations promulgated thereunder.

29. As a direct and proximate result of such grossly negligent, wanton or reckless
conduct, Mildred Marshall suffered the injuries described in Paragraph 21. Plaintiff asserts a
claim for judgment for all compensatory and punitive damages against Nursing Home
Defendants including, but not limited to, medical expenses, pain and suffering mental anguish,
disability, disiigurement, hospitalization, and unnecessary loss of personal dignity in an amount
to be determined by the jury, but in excess of the minimum jurisdictional limits of this Court and
exceeding that required for federal court jurisdiction in diversity of citizenship cases, plus costs
and all other relief to which Plaintiff is entitled by law.

MEDICAL NEGLIGENCE
3 0. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 - 29

as if fully set forth herein.

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31. Nursing Home Defendants had a duty to provide the standard of professional

medical care and services of a reasonably competent nursing facility acting under the same and

similar circumstances

32. Nursing Home Defendants failed to meet applicable standards of medical care.

The medical negligence or malpractice of Nursing l-Iome Defendants included, but was not

limited to, the following acts and omissions:

El.

The overall failure to ensure that Mildred Marshall received the following:

1) timely and accurate care assessments;

2) prescribed treatment, medication, and diet;

3) necessary supervision; and

4) timely nursing and medical intervention due to a significant change

in conditicn;

Failure to provide and implement an adequate nursing care plan based on
the needs of Mildred Marshall;

F ailure to provide proper treatment and assessment to Mildred Marshall
in order to prevent and care for infections;

Failure to provide care, treatment and medication in accordance with
physician’s orders;

Failure to take all necessary and reasonable custodial and nursing
measures to prevent avoidable falls and infections during Mildred
Marshall’s residency;

Failure to adequately and appropriately monitor Mildred Marshall
and recognize significant changes in her health status, and to timely notify
her physician of significant changes in her health status;

Nursing Home Defendants were responsible for the infliction of physical
pain, injury, and mental anguish upon Mildred Marshall;

Failure to ensure Mildred Marshall was not deprived of the services
necessary to maintain her health and welfare; and

Failure to notify the physician of a significant change in her condition
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33. lt was foreseeable that the breaches of care listed above Would result in serious
injuries to Mildred Marshall. A reasonably competent nursing facility acting under the same or
similar circumstances would not have failed to provide the care listed above.

34. With regard to each of the foregoing acts of professional or medical negligence,
Nursing Home Defendants acted with oppression, haud, malice, or were grossly negligent by
acting with wanton or reckless disregard for the health and safety of Mildred Marshall.

35. As a direct and proximate result of such oppression, i`raud, malice, or gross
negligence, Mildred Marshall suffered the injuries described herein. Plaintiff asserts a claim for
judgment for all compensatory and punitive damages against Nursing Home Defendants
including, but not limited to, medical expenses, pain and suffering, mental anguish, disability,
disfigurement, hospitalization, and unnecessary loss of personal dignity in an amount to be
determined by the jury, but in excess of the minimum jurisdictional limits of this Court and
exceeding that required for federal court jurisdiction in diversity of citizenship cases, plus costs
and all other relief to which Plaintiff is entitled by law.

CORPORATE NEGLIGENCE

36. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 - 35
as if fully set forth herein.

37. Mildred Marshall was looking to Nursing Home Defendants’ facility for treatment
of her physical ailments and not merely as the situs where others not associated with the facility
would treat her for her problems There is a presumption that the treatment Ms. Marshall
received was being rendered through employees of Nursing Home Defendants and that any
negligence associated with that treatment Would render Nursing Home Defendants responsible

Nursing Home Defendants, or persons or entities under their control, or to the extent Nursing

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Home Defendants were vicariously liable through the ostensible or apparent agency of others,
owed a non-delegable duty to residents, including Mildred Marshall, to use the degree of skill
and care which is expected of reasonably competent medical practitioners acting in the same or
similar circumstances

38. Nursing Home Defendants owed a non-delegable duty to assist Mildred Marshall
in attaining and maintaining the highest level of physical, mental and psychological well-being

39. Nursing Home Defendants owed a duty to Mildred Marshall to maintain their
facility in such a manner as to enable them to meet the needs of Ms. Marshall, including
providing and maintaining medical equipment and supplies, and hiring, supervising and retaining
nurses and other staff employees

40. Nursing Home Defendants owed a duty to Mildred Marshall to have in place
procedures and protocols that properly care for residents and to administer these policies through
enforcement of any rules, regulations, by-laws, or guidelines, which were adopted by Nursing
Home_Defendants to ensure smoothly-run facilities and adequate resident care.

41. Nursing Home Defendants owed a duty to Mildred Marshall to provide a safe
environment, treairnent, and recovery, and to exercise ordinary care and attention for the safety
of residents in proportion to the physical and mental ailments of each particular resident, known
or discoverable by the exercise of reasonable skill and diligence The duty of reasonable care and
attention extended to safeguarding Ms. Marshall from danger due to her inability to care for
herself. Nursing Home Defendants had a duty to protect Ms. Marshall from any danger which
the surroundings would indicate might befall her in view of any peculiar trait exhibited by her or
which her mental condition or aberration would suggest as likely to happen

42. Nursing Home Defendants breached their duty to Mildred Marshall by the manner

in which they owned, operated, and exercised control over Golden LivingCenter ~ Hillcreek.
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43. With regard to the foregoing acts of negligence detailed herein, Nursing Home
Defendants acted with oppression, fraud, malice, or were grossly negligent by acting with
wanton or reckless disregard for the health and safety of Mildred Marshall.

44. As a direct and proximate result of such oppression, fraud, malice, or gross
negligence, Mildred Marshall suffered the injuries described herein. Plaintiff asserts a claim for
judgment for all compensatory and punitive damages against Nursing Home Defendants
including, but not limited to, medical expenses, pain and Suffering, mental anguish, disability,
disfigurement, hospitalization, and unnecessary loss of personal dignity in an amount to be
determined by the jury, but in excess of the minimum jurisdictional limits of this Court and
exceeding-that required for federal court jurisdiction in diversity of citizenship cases, plus costs
and all other relief to which Plaintiff is entitled by law.

VIOLATIONS OF LONG TERM CA.RE RESIDENT’S RIGHTS

45. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs l - 44
as if fully set forth herein.

46. Nursing Home Defendants Violated statutory duties owed to Mildred Marshall as
a resident of a long term care facility, Kentucky Revised Statutes 216.510, er seq. These statutory
duties were non-delegable.

47. The violations of the resident’s rights of Mildred Marshall include, but are not

limited to:

a. Violation of the right to be treated with consideration, respect, and hill
recognition of her dignity and individuality;

b. Violation of the right to have a responsible party or family member or her

guardian notified immediately of any accident, sudden illness, disease,
unexplained absence, or anything unusual involving the resident;

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c. Violation of the right of the resident, her responsible party, responsible
family member, or her guardian to be fully informed of the resident’s
medical condition;

d. Violation of the right to be free from mental and physical abuse; and

e. Violation of the right to be given assistance when needed in maintaining
body hygiene and good grooming.

48. As a result of the aforementioned violations of the Resident’s Rights Statute by
Nursing Home Defendants, pursuant to K.R.S. § 216.515(26), Plaintiff is entitled to recover
actual damages in an amount to be determined by the jury, but in excess of the minimum
jurisdictional limits of this Court and exceeding that required for- federal court jurisdiction in
diversity of citizenship cases, as well as costs and attomeys’ fees.

49. With regard to the aforementioned violations of the Resident’s Rights Act,
Nursing Home Defendants acted with oppression, haud, malice, or were grossly negligent by
acting with Wanton and reckless disregard for the rights of Mildred Marshall and, pursuant to
K.R.S. § 216.515(26), Plaintiff is entitled to punitive damages from Nursing Home Defendants
in an amount to be determined by the jury, but in excess of the minimum jurisdictional limits of
this Court and exceeding that required for federal court jurisdiction in diversity of citizenship
cases, as well as costs and attorneys’ fees

CAUSES OF ACTION AGAINST THE ADMINISTRATOR DEFENDANT

NEGLIGENCE

50. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs` l - 49
as if fully set forth herein.

51. Upon information and belief, lames Rife was an Adrninistrator of Golden

LivingCenter ~ Hillcreek during Mildred Marsha.ll’s residency there.

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52. As a nursing home administrator licensed by the State of Kentucl<y, l ames Rife
owed ordinary duties of care to Mildred Marshall, as well as professional duties and statutory
duties owed to residents by licensed nursing horne administrators in this state, pursuant to the
Nursing Home Adrninistrators Licensure Act of 1970, codified as Kentucky Revised Statutes
sections 21`6A.010, et seg.

53. As a holder of a nursing home administrator’s license, J ames Rife was legally and
individually responsible for the operation of the facility and the welfare of its residents pursuant
to Cliapter 216A of the Kentucky Revised Statutes and Title 201, Chapter 6 of the Kentueky
Administrative Regulations. '

54. As adrninistrator, Defendant James R_ife was also responsible for the total
management of the facility pursuant to federal law.

55.. Administrator Defendant’s management responsibilities included ensuring that
the facility operated and provided services in compliance with all applicable federal, state, and
local laws, regulations, and codes, and within accepted professional standards and principles

56. Defendant lames Rife breached the duties of ordinary care owed to Mildred
Marshall as administrator and failed to operate, manage, or administer the facility in compliance
with accepted professional standards and principles through acts and omissions including, but
not limited to, the following:

a. The failure to provide sufficient numbers of qualified personnel to meet

the total needs of Mildred Marshall throughout her residency and to
ensure that Mildred Marshall:

i. Received timely and accurate care assessments;
ii. Received prescribed treatment, medication, and diet; and

iii. Was protected from accidental injuries by the correct use of
ordered and reasonable safety measures;

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b. The failure to adequately screen, evaluate, and test for competence in
selecting personnel to work at the facility;

c. The failure to ensure that Mildred Marshall Was provided with basic and
necessary care and supervision;

d. The failure to ensure that Mildred Marshall attained and maintained her
highest level of physical, mental, and psychosocial well-being;

e. The failure to ensure that Mildred Marshall received care, treatrnent,
and medication as prescribed or in accordance with physician’s orders;

f. The failure to ensure that Mildred Marshall was treated with the
dignity and respect that all nursing home residents are entitled to receive;

g. Failure to take all necessary and reasonable custodial and nursing
measures to prevent avoidable falls and infections during Mildred
Marshall’.s residency;

h. The failure to provide a safe environment for Mildred Marsliall;

i. The failure to take reasonable steps to prevent, eliminate, and correct

deficiencies and problems in resident care at the facility;

j. The failure to discipline or terminate employees at the facility assigned to
Mildred Marshall that were known to be careless, incompetent and
unwilling to comply with the policy and procedures of the facility and the
rules and regulations promulgated by the Cabinet for Health and Family
Services; - - ‘

k. The failure to adopt adequate guidelines, policies, and procedures for:

l) Investigating the relevant facts, underlying deficiencies, or licensure
violations, or penalties found to exist at the facility by the Cabinet for
Health and Family Services or any other authority;

2) Determining the cause of any such deficiencies, violations, or
penalties;

3) Establishing the method and means for correcting deficiencies,
licensure violations, or penalties found to exist at the facility;

4) Determining whether the facility had sufficient numbers of personnel
to meet the total needs of Mildred Marshali; and

5) Documenting, maintaining illes, investigating, and responding to any
complaint regarding the quality of resident care, or misconduct by

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employees at the facility, regardless of whether such complaint derived
from a resident of said facility, an employee of the facility, or any
interested person;

l. The failure to provide nursing personnel sufficient in number to provide
proper treatment and assessment to Mildred Marshall and other residents;

m. The failure to provide adequate supervision to the nursing staff so as to
ensure that Mildred Marshall received adequate and proper nutrition,
fluids, therapeutic diet, sanitary care treatments, and skin care to prevent
infection, and sufficient nursing, observation, and examination of the
responses, symptoms, and progress in the physical condition of Mildred
Marshall; and

n. The failure to maintain all records on Mildred Marshall in accordance with
accepted professional standards and practice that were complete,
accurately documented, readily accessible, and systematically organized
with respect to her diagnoses, treatment and appropriate care plans for
care and treatment

_57. A reasonably careful nursing home administrator would not have failed to provide
the care listed above. lt was foreseeable that these breaches of ordinary care would result in
serious injuries to Mildred Marshall. Each of the foregoing acts of negligence on the part of the
Administrator Defendant was accompanied by such wanton or reckless disregard for the health
and safety of Mildred Marshall as to constitute gross negligence,

58. Additionally, the Administrator Defendant’s failure to operate, manage, or
administer the facility in compliance with federal, state, and local laws, regulations, and codes
intended to protect nursing home resid'ents, included, But was not limited to:

a. The failure to ensure compliance with rules and regulations of the Cabinet
for Health and Family Services, pursuant to Chapters 216, 216B and 13A
of the Kentucky Revised Statutes and the administrative regulations
promulgated thereunder, and the federal minimum standards imposed by
the United States Department of Health and Hurnan Services;

b. The failure to ensure compliance with laws and regulations promulgated

by the Cabinet for Health and Family Services to provide the minimum
number of staff necessary to assist Mildred Marshall with her needs;

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The failure to ensure compliance with law and regulations of the Board of
Licensure for Nursing Home Administrators pursuant to the Nursing
Home Adrninistrator Licensure Act of 1970, Kentucky Revised Statutes
sections 216A.010 et seq.;

rl`he failure to provide the necessary care and services to attain or maintain
the highest practicable physical, mental, and psychosocial well-being of
Mildred Marshall, and in accordance with the comprehensive assessment
and plan of care created at the facility;

The failure to provide sufficient nursing staff and nursing personnel to
provide adequate and appropriate nursing care to Mildred Marshall in
accordance with the resident care plan generated at the facility;

59. The failure to administer the facility in a manner that enabled it to use its

resources effectively and efficiently to attain or maintain the highest practicable physical, mental,

and psychosocial well-being of Mildred Marshali;

3.

The failure to ensure that a nursing care plan based on Mildred Marshall’s
problems and needs was established Which contained measurable
objectives and time tables to meet her medical, nursing, mental, and
psychosocial needs as identified in her comprehensive assessment, which
was supposed to be reviewed and revised when Mildred Marshall’s needs
changed;

The failure to notify Mildred Marshall’s family and physician of a need to
alter her treatment significantly;

The failure to provide a safe environment;

The failure to ensure that Mildred Marshall maintained acceptable
parameters of nutritional status and received a therapeutic diet throughout
her residency; and

Failure to take all necessary and reasonable custodial and nursing
measures to prevent avoidable falls and infections during Mildred
Marshall’s residency.

60. Mildred Marshall is a member of a class intended to be protected by the above

laws and regulations The injuries alleged in Paragraph 21 resulted from events that the laws and

regulations were designed to prevent

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61. lt was foreseeable that the foregoing breaches of duties would result in serious
injuries to Mildred Marshall. Each of the foregoing acts of negligence on the part of the
Administrator Defendant Was accompanied by such wanton or reckless disregard for the health
and safety of Ethia Gross as to constitute gross negligence

62. As a direct and proximate cause of such grossly negligent, wanton, or reckless
conduct, Mildred Marshail suffered the injuries described herein, and Plaintiff asserts a claim for
judgment for all compensatory and punitive damages against the Administrator Defendant, in his
capacity as Administrator of the facility, including but not limited to, medical expenses, pain and
suffering, mental anguish, disability, disfigurement, hospitalization, and unnecessary loss of
personal dignity in an amount to be determined by the jury, but in excess of the minimum
jurisdictional limits of this Court and exceeding that required for federal court jurisdiction in
diversity of citizenship cases, plus costs and all other relief to which Plaintiff is entitled by law.

DAMAGES

63. Plaintiff re~alleges and incorporates the allegations contained in Paragraphs l - 62
as if fully set forth herein

64. As a direct and proximate result of the negligence and wrongful conduct of all
Defendants as set out above, Mildred Marshall suffered injuries including, but not limited to,
those listed herein.

65. Plaintiff seeks punitive and compensatory damages against all Defendants in an
amount to be determined by the jury, but in excess of the minimum dollar amount necessary to
establish the jurisdiction of this Court, plus costs and all other relief to which Plaiutiff is entitled

by law.

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REQUEST FOR RELIEF

WHEREFORE, Plaintiff, Marva J. Dockery, as Attomey-in-Fact of Mildred R. Marshall,
prays for judgment against GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter -
I-Iillereek; GGNSC Administrative Services, LLC; GGNSC Clinicai Services, LLC; GGNSC
Equity Holdings, LLC; Golden Gate National Senior Care, LLC; GGNSC Holdings, LLC; and
J ames Rife, in his capacity as Administrator of Golden LivingCenter - Hillcreek, in an amount to
be determined from the evidence, the costs herein expended, and all other relief to Which
Plaintiff is entitled, including TRIAL BY J'URY.

Respectfully submitted this ;'»g_/_ day of December, 2015,

Marva Dockery, as Attorney-in-Fact of Mildred Marshall

By:%h/ML i/i_/ zM’/// rim/ifr

yB'relrr L Moss_ (KY' 9341' s)

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and

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Attorneysfor Plainti]jf

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nuRAeLE PowER oF ATTQRN§I

KNOW ALL MEN BY THESE PRESENTS: That I,

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M_M_£_M&Q§Mate of birth: \ ji'ggf]& §§ [Q‘jg, a resident of and
domiciled in LZ[[H ‘,Q'§[f_g/@ §Q;%Q£QQM County, Kentucky, have made, constituted

and appointedl and by ' these presents do makel constitute and
f

§ f

County, Kentucl<y, as _

 

` my true and lawful attorn y for me in my name, p ace and stead and do grant to my
attorney the power of attorney as more particularly set forth hereinafter

l. To take possession of, collect, recover and receive by whatever means
necessary all monies, goods, chattels and effects belonging to me cr to

~ Whlch | may be entitled, wheresoever found;

2. To take possession of any and all real property now owned by me or to
which l am entitled to possession and to bargain, sell, lease and convey any
and all of my real estate, wherever sltuated, Whether now owned or
hereafter acquired, and to execute and deliver any required deeds or other
documents for purpose of passing fee simple title and\or to consummate
the lease of said real estate, at such prices and under such terms and
conditions as my attorney deems tlt; and to receive payment of the
purchase money ot any and all real property sold and any and all
promissory notes or other evidence of indebtedness with respect to such
sale; and to receive all lease or rental payments that may be due and
payable to me. l further grant to my attorney the power to do any and all

things with respect to my real estate as my attorney deems necessary,

 

 

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including the granting and execution of documents for rights of way and
easements In the event my attorney deems it advisable to petition any
governmental agency, administrative agency or any such authority for
consideration of matters affecting my real property such as zoning, taxation
or any other reason, authority is hereby granted for such action and the
necessary expenditure ot funds for that purpose;

3. To sell and convey by bill of sale or other proper instrument any and all of
my personal property of every nature and description and wherever situated
and upon such terms and conditions as deemed best and to deliver said
personal property and to receive payment of the purchase price from the
sale thereof;

4. To draw upon any bank or savings account or savings certit“rcate in my
name and endorse and cash checks payable to me and to sign and deliver
checks and other papers in handling my bank accounts and obligations
generally and thereby transact any and all business for me with any bank or
institution;

5. ln the event my attorney deems tt necessary and for my proper f
maintenancel support and care, or in the event my attorney deems it
necessary or advisable in the management of my properties and business
in the sole discretion of my attorney, the power and authority is hereby
granted to negotiate for and borrow money and mortgage any and all of my

real and personal property or pledge any anticipated income and to execute

 

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such mortgages and promissory notes in my namel place and stead and to
obtain and effect a valid mortgage or pledge upon my property;

6. ' To sign and execute any and ali papers and instruments that may be
necessary to procure insurance benetits, Medicare and other benefits for
me;

7. To enter upon my attorney's signature my safety deposit box wherever
situated and to remove any and aii contents therefrom and to otherwise
utilize the box as my attorney sees tit for my benet'it;

B. To sell and redeem any government bonds, stock certiticates, promissory
notes or any other asset of this type or evidence of a receivable and to
receive the proceeds therefrom;

9. 'i`o represent me before agents, ofticers, and employees ot the
Commonweaith of Ke-ntucky, Departrnent of Revenue, United States
Treasury Department, Bureau of internal Revenue Service, including the
Audit Division and the Appe|iate Division of the Bureau of internal Revenue
and the Tax Court of the United States, with respect to any tax'liabiiity for
any period of time1 giving and granting upon my attorneys full power and
authority to do and perform any and every act relative to any tax matter,
business or personal;

10. To sign and execute any documents to allow my healthcare providers to
provide medical care and treatment for me, to discuss my healthcare and
treatment and to allow my healthcare providers to provide any healthcare

records, inton~nation1 or other documentation;

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11. i hereby grant to my said attorney in fact full power and authority to do and
perform all and every act and thing whatsoever requisite and necessary to
be done in the premises, as fully, to all intents and purposes, as l might or
could do if personally present, hereby ratifying and confirming ali that said

attorneys in fact shall lawfuin do or cause to be done by virtue thereof.

This Power of Attorney shall commence fromlthe date l sign this document and

continue despite any disability i may suffer.
iN TESTiNiONY WHEREOF, witness my hand at /% %' @O/ /%//M
County, Kentucky on this ¢(day/_F of sg_e£éfbAeL£S-‘i-S-'

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COMMONWEALTH OF KENTUCKY

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Nota Publrc Ky. State at Large __
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